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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA


ROY JACK WILLIAMS,                         )
                                           )
             Plaintiff,                    )
                                           )
v.                                         )   Case No. CIV-13-828-D
                                           )
ALLSTATE FIRE AND CASUALTY                 )
INSURANCE COMPANY,                         )
                                           )
             Defendant.                    )



                                  JUDGMENT

      Pursuant to the Order issued this date, the Court enters summary judgment in favor

of Defendant Allstate Fire and Casualty Insurance Company.

      Entered this 30th day of September, 2016.
